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                        UNITED STATES DISTRICT COURT
                       SOUTHERN DISTRICT OF NEW YORK

THE UNITED STATES OF AMERICA,

                  Plaintiff,                  Case No.: 23 Cr. 430 (KPF)

           -against-                          The Honorable Katherine Polk Failla

ROMAN STORM, ET AL.,

                  Defendants.




         BRIEF OF THE DEFI EDUCATION FUND AS AMICUS CURIAE
              IN SUPPORT OF DEFENDANT ROMAN STORM’S
                  MOTION TO DISMISS THE INDICTMENT




                                    Amanda Tuminelli, Esq.
                                    Jacob Chervinsky, Esq. (pro hac vice motion pending)
                                    DEFI EDUCATION FUND
                                    1155 F St. NW
                                    Suite 300
                                    Washington, DC 20004
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                               INTEREST OF AMICUS CURIAE1

        The DeFi Education Fund (“DEF”) is a nonpartisan research and advocacy group based

in the United States. DEF’s mission is to explain the benefits of decentralized finance (“DeFi”),

help achieve regulatory clarity for DeFi technology, contribute to the realization of the

transformative potential of DeFi, and protect the rights of all digital asset market participants,

including users and developers.

        DEF has a significant interest in this case, particularly regarding how the government’s

allegations and theories of liability affect the interests and rights of software developers. DEF

also has an interest in educating courts about the nature of the digital asset industry, public

blockchain technology generally, and DeFi technology specifically.

        DEF takes no position on the guilt or innocence of Roman Storm. However, DEF

strongly urges the Court to reject the government’s novel and inconsistent theories of criminal

liability for software developers set forth in the Indictment, which far exceed existing law and

radically diverge from decades of its own criminal enforcement precedent.




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       No person except amicus curiae authored this brief or contributed money to fund its preparation
or submission.



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                                        INTRODUCTION

       Since the Industrial Revolution, rapid advancements in technology have wrought

extraordinary changes in the developed world. At first, those advancements largely came in the

space of “atoms”—engineers designed and built transformative inventions like automobiles,

skyscrapers, televisions, and many others that now seem commonplace. In recent years,

however, technological advancement has shifted toward the space of “bits”—that is, software

developers design and build computer programs that power nearly everything around us, from

the smartphones and laptops that we use every day to the most critical infrastructure supporting

health and human welfare. Software developers have become an unseen but enormous force for

maintaining and shaping modern society.

       The Indictment in this case presents a remarkable question to the Court: when should

software developers be held criminally liable for the bad acts of third parties who misuse

software that they created? In the space of atoms, questions like this are rare. In general,

automobile manufacturers are not liable for drivers who use their vehicles as weapons;

construction companies are not liable for businesses that use their office buildings to perpetrate

fraud; and television manufacturers are not liable for newscasters who use their screens to make

defamatory statements. But according to the Indictment, the same logic does not apply in the

space of bits. Instead, the Indictment posits that software developers should have boundless

liability for third-party misuse of their inventions, subject to no limiting principle whatsoever.

       The Indictment sets forth three theories of criminal liability for software developers that

are historically unprecedented and legally unsupported. First, the Indictment asserts that

developers are liable for violating the International Emergency Economic Powers Act

(“IEEPA”), 50 U.S.C. § 1701 et seq., when they publish open-source software that is later used




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by a sanctioned entity, even if there is no allegation that they engaged with that sanctioned entity

directly. Second, the Indictment asserts that developers are liable for conspiracy to commit

money laundering under 18 U.S.C. §§ 1956(a), (h), when they publish open-source software that

is later used by a third party to conduct transactions concealing the proceeds of specified

unlawful activity, even if the developers did not know about or participate in those transactions.

Third, the Indictment asserts that developers are liable for conspiracy to operate an unregistered

money transmitting business under 18 U.S.C.A. § 371 and §1960 when they publish open-source

software that enables users to engage in peer-to-peer financial transactions, even if they have no

ability to change the software and no control over user funds.2

       These theories of liability—if validated by the Court—would grant the government

unlimited power to prosecute any software developer who writes code that is later used by a third

party for nefarious purposes, merely because the developer becomes aware of that later use. With

no limiting principle in place, nearly all developers who create open-source software would be

exposed to criminal liability for activity outside of their control years or decades later. The

surface area for selective prosecution would be incalculable, as the government would be free to

target software developers aligned with politically disfavored causes and industries, who would

have little in the way of defense or recourse. Put simply, validating the Indictment’s theories of

liability would mean rejecting core principles of due process and the rule of law.

       Although blockchain technology plays an important role in this case, the government’s

theories of liability have implications for every software developer in every industry. Writing

computer code is both a technical skill and an act of creative expression, and software developers


2
        Although we do not address Count II, we concur with the analysis in the Memorandum of Law in
Support of Roman Storm’s Motion to Dismiss, see ECF No. 37-1, and the other arguments made by amici
curiae Blockchain Association and Coin Center.



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are as much artists as they are engineers. Code is their language—the means by which they

invent, innovate, and instantiate their ideas into the world. A ruling that criminalized the

development of software that is later used by third party-bad actors would expose nearly one

hundred million developers around the world to liability. See Octoverse 2022: 10 years of

tracking open source, Github Blog (Nov. 17, 2022), https://tinyurl.com/2p9rehx7. The chilling

effect of that decision may spell doom for the open-source software movement.

       There is no question that the subject matter of the Indictment is of the utmost importance

to U.S. national security, and it is critical that our law enforcement agencies and officials have

the resources and authority that they need to root out bad actors. But here, the bad actors are the

North Korean cybercriminals engaged in recurring transnational theft. The responsibility for

criminal use of open-source software should lie with those who intentionally use it for illicit

purposes. We urge the Court not to compound that harm by subjecting software developers to

unlimited liability for third-party use of their work.

                                 TECHNICAL BACKGROUND

       The Tornado Cash ecosystem includes a number of separate technical components that

the Court must distinguish in order to accurately assess the Indictment’s allegations. It is

important to evaluate each component of a blockchain-based protocol or ecosystem precisely,

especially when apportioning liability, just as this Court did in Risley v. Universal Navigation

Inc., No. 22 CIV. 2780 (KPF), 2023 WL 5609200, at *2-8 (S.D.N.Y. Aug. 29, 2023)

(distinguishing and describing smart contracts, liquidity pools, token creators, user interface,

governance, and token holders).

       This exercise is particularly important in the context of open-source software, where it is

common for different software developers to work on different components of the ecosystem at




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different times. For example, the software developer who begins to write code for a smart

contract protocol may not be the same developer who finishes the code or reviews it for bugs

years later. The protocol developers may have no touchpoint at all with the user interface

operators, who pay for server space and likely have no ability to alter the protocol.

        The Indictment does not appropriately differentiate the components of the Tornado Cash

ecosystem.3 Instead, it groups together a variety of separate actors and technology—such as the

developers, the relayers, the user interface, the protocol, and the TORN governance

participants—and calls them, collectively, the “Tornado Cash service.” See generally Ind. ¶¶ 1-3,

9-10, 26-28.4 The Indictment then asserts that the Tornado Cash founders “operated” the

“Tornado Cash service.” Ind. ¶ 1. Neither statement accurately reflects how Tornado Cash works

or the founders’ relationship to parts of the ecosystem.

        We believe that Mr. Storm and amici curiae Blockchain Association and Coin Center

have correctly explained the technology of Ethereum and smart contract protocols, see, e.g., ECF

No. 37-1 at 16-24, and thus we only highlight certain nuances of the technology below.

Off-Chain User Interfaces Are Separate From On-Chain Protocols

        A user interface is a “computer application . . . accessible through any standard internet

browser” that provides a gateway for users to interact with a smart contract protocol and is

distinct from the protocol itself. Ind. ¶ 13. A protocol consists entirely of self-executing smart

contracts that are “on-chain,” meaning they are deployed to a public blockchain network, are



3
        Because we are limited to the facts alleged in the Indictment, DEF takes no position on the level
of decentralization achieved by the various components of the Tornado Cash ecosystem.
4
        For an in-depth technical review of the Tornado Cash protocol and user interface, see §4.2.2 of
Secret Notes And Anonymous Coins: Examining FinCEN’s 2019 Guidance On Money Transmitters In
The Context Of The Tornado Cash Indictment by Cravath lawyers Daniel Barabander, Benjamin
Gruenstein, and Evan Norris, https://tinyurl.com/mr25xjyb (“Cravath Working paper”).



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stored on its ledger, and operate continuously as long as the blockchain is operational. User

interfaces, on the other hand, consist of entirely separate code for websites, mobile applications,

or other programs that are “off-chain,” meaning they are typically owned and controlled by the

developers who built them, are stored by a centralized cloud provider such as Amazon Web

Services, and operate only so long as their developers provide for their maintenance and upkeep.

        Because of the distinction between user interfaces and their underlying protocols, control

over a user interface does not equate to control over the underlying protocol. Often, smart

contract protocols are accessible through many different user interfaces that are created and

maintained by developers who had no role in coding the underlying protocol and may not even

know each other. Changes to a user interface do not have any effect on the protocol itself.

        Operators of user interfaces can implement compliance measures such as user due

diligence, geofencing, and sanctions screening, thereby blocking sanctioned entities from

accessing the protocol through the user interface. See generally Ind. ¶¶ 34, 39, 42. However,

regardless of any restrictions implemented into a user interface, the underlying smart contract

protocol itself will remain accessible to anyone with an internet connection who knows how to

use a public blockchain. See generally id. (alleging founders could have built compliance tools

into user interface but not protocol itself).

Privacy-Preserving Technology Is Uniquely Important For Blockchain-Based Transactions

        At the center of this case is a privacy-preserving technology that allows users to engage

in financial transactions on a public blockchain without the rest of the world peering over their

shoulders. There is nothing illicit about the desire for financial privacy—it is a fundamental right

deeply rooted in the history of our nation and codified in the First and Fourth Amendments to the

U.S. Constitution, among many other places in federal law.




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       Privacy preservation is particularly important in DeFi because of the transparent nature of

public blockchains. Traditional off-chain transactions provide substantially more privacy than

on-chain transactions: cash is virtually untraceable, and transactions involving financial

institutions like banks, credit card networks, and payment processors expose sensitive

information only to those institutions, not the public at large. But blockchain-based transactions

are posted to a public ledger that anyone can see; all of a user’s transactions can be viewed for all

time by anyone with access to the internet and who knows the user’s wallet address.

       The unique transparency of public blockchains creates major privacy concerns that can

expose individuals to exploitation, invite retaliation for politically-sensitive contributions, and

leave users’ private and sensitive affairs exposed. For example, thieves can identify

cryptocurrency users with large holdings and threaten them unless they give up their assets.

Popper, Bitcoin Thieves Threaten Real Violence for Virtual Currencies, N.Y. Times (Feb. 18,

2018), perma.cc/3KCU-3ELC. And dangerous groups, such as Russians who target donations to

Ukraine for cyber attacks, can use public cryptocurrency transactions as a basis for retaliation.

See Cybersecurity Advisory: Russian State-Sponsored and Criminal Cyber Threats to Critical

Infrastructure, CISA (May 9, 2022), perma.cc/C5TN-QL62. Software that solves these problems

by preserving user privacy in public transactions should be viewed as neutral tools.

                                           ARGUMENT

  I.   THE GOVERNMENT’S NOVEL IEEPA THEORY IS UNSUPPORTED BY LAW

       The Indictment alleges an unprecedented theory of criminal liability under IEEPA.

Pursuant to the theory, software developers who create general use software—with no intent that

it be used by sanctioned entities and with no direct or proactive engagement with a sanctioned

entity—would be criminally liable for a sanctioned entity’s later use of that software. This novel




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theory is unsupported by the law, would create vast new precedent that goes far beyond this case,

and would have a chilling effect on software developers in every industry.

   A. IEEPA Has Never Been Used To Criminalize The Creation Of Software That Is
      Unintentionally And Spontaneously Used By A Sanctioned Entity

       IEEPA has never been used to penalize an engineer who created technology with no

particular end user in mind and that technology is later used by a sanctioned entity. IEEPA

punishes U.S. persons who willfully export blocked property in their “possession or control,” or

provide funds, goods, or services to Specially Designated Nationals and sanctioned entities

(“SDNs”). See 50 U.S.C.A. §1705(c); Executive Orders 13466 and 13722; 31 C.F.R. § 510.201

(collectively, “North Korea sanctions”); see also Ind. ¶¶ 51-54. But, as explained below, a

software developer who creates open-source software with no end user in mind has not conspired

to willfully violate IEEPA merely because an SDN uses that software years later.

       In reviewing the most recent 78 IEEPA criminal prosecutions against individual

defendants, the government consistently charges individuals who it claims have willfully, and

with knowledge of their counterparty or the destination, traded goods with SDNs, directly

transacted with SDNs, or otherwise proactively engaged with an SDN. See Exhibit A. In each of

the cases in Appendix A, the defendant is accused of directly dealing with an SDN or taking

some proactive step knowing that their conduct would reach an SDN. Id.; see, e.g., United States

v. Atilla, 966 F.3d 118, 122 (2d Cir. 2020) (evidence at trial established Atilla conspired to evade

Iran sanctions by laundering billions of dollars’ worth of Iranian oil proceeds and lied to

Treasury Dept. to hide scheme); United States v. Banki, 685 F.3d 99, 103-104 (2d Cir. 2012), as

amended (Feb. 22, 2012) (defendant knowingly received $3.4M as part of Iranian hawala

system); United States v. Sarvestani, 297 F.R.D. 228, 230 (S.D.N.Y. 2014) (defendant

intentionally concealed destination of satellite technology exported to Iran). Our extensive



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review did not reveal a single case where the government charged a defendant with violating

IEEPA or conspiring to do so without an allegation that the defendant knew their counterparty or

knew that the counterparty was several degrees away from an SDN. Moreover, in each case, the

defendant had a counterparty. By contrast, a software developer publishing general use, open-

source software does not have an identifiable counterparty at all.

        These same principles hold true across all IEEPA cases, including those related to

software developers. Among dozens of recent cases, just two appear to involve criminal IEEPA

conspiracy allegations against a software developer. See United States v. Amirnazmi, 648 F.

Supp. 2d 718, 721 (E.D. Pa. 2009), aff’d, 645 F.3d 564 (3d Cir. 2011) (Amirnazmi conspired to

market and sell proprietary software to Iranian companies); United States v. Galgoul, No. 2:07-

cr-00211, ECF No. 13 (E.D. La. Jun. 7, 2007) (Galgoul conspired to market and sell oilfield

industry software to Iranian companies). In both cases, the defendant was accused of marketing

and providing software directly to an SDN and providing expert advice or training on such

software. Amirnazmi, 648 F. Supp. 2d at 721; Galgoul, ECF No. 13 ¶ 3. In other words, each

case included allegations that the defendant manifested a knowing, active engagement with an

SDN as his counterparty. General use software created without an SDN in mind has never been

the subject of an IEEPA charge.5

        The dearth of cases with theories analogous to the Indictment in this case is not

surprising: a software developer who creates a program without an SDN in mind, without any

evidence of communications with an SDN, and without the goal of future use by an SDN, has

not acted “willfully.” See 50 U.S.C.A. § 1705(c).


5
         Even in the recent case against Roman Sterlingov, who was convicted at trial for conduct related
to running a mixer, the government did not accuse Mr. Sterlingov of violating IEEPA. See United States
v. Sterlingov, 1:21-cr-00399 (RDM), ECF No. 8 (D.D.C. June 14, 2021).



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       To establish that a defendant “willfully” violated IEEPA, the government has to prove

that he “acted with knowledge that his conduct was unlawful.” See Bryan v. United States, 524

U.S. 184, 191–92 (1998); United States v. Homa Int’l Trading Corp., 387 F.3d 144, 147 (2d Cir.

2004) (applying the Bryan willfulness standard to IEEPA). Courts in this Circuit have

consistently required that a defendant engage in conduct knowing that his counterparty, or the

recipient or destination of his goods or services, was an SDN. See, e.g., United States v.

Kuyumcu, 803 F. App’x 513, 514-515 (2d Cir. 2020) (plea allocution for IEEPA conspiracy was

sufficient where defendant said he was “fully aware” he was shipping goods to “a company in

Iran”); United States v. Griffith, 515 F. Supp. 3d 106, 120 (S.D.N.Y. 2021) (“It will be part of the

government’s burden to prove that . . . Griffith knowingly and willfully joined a conspiracy with

knowledge of its unlawful object, i.e. the providing services to the DPRK”). Because IEEPA

requires a specific intent, it is not enough for the government to demonstrate “proof of

knowledge of past unlawful activity alone,” but instead, “[t]he government must show some

additional intent to further future unlawful activity to support criminal liability.” United States v.

Al-Arian, 308 F. Supp. 2d 1322, 1340 (M.D. Fla. 2004) (interpreting “willfully” under IEEPA:

“the government must prove a defendant: (a) knew [] that an organization was a [SDN] . . . and

(b) had a specific intent that the contribution be used to further the unlawful activities of the

[SDN]”). And in order to allege an IEEPA conspiracy, the government must allege the defendant

acted willfully “at the time they joined in a plan to engage in the unlawful acts.” United States v.

Quinn, 403 F. Supp. 2d 57, 60 (D.D.C. 2005) (emphasis added).

       The lack of similar cases belies the novelty of the government’s theory in the Indictment:

that software developers become liable for violating IEEPA when they become aware that an

SDN has used their software. The Indictment does not allege that the founders created privacy-




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enhancing software for use by SDNs in particular, or for the purpose of sanctions evasion. See

Ind. ¶¶ 9-10. Relevant here, the Indictment alleges that: Tornado Cash technology was published

in August 2019 (¶ 9); OFAC designated a North Korean hacking group as an SDN and identified

its ETH wallet as blocked property on September 13, 2019, and April 14, 2022, respectively

(¶ 55); the sanctioned hacking group used Tornado Cash from April 4, 2022 to May 19, 2022

(¶¶ 58, 60); and the Tornado Cash founders knew about the group’s use of the protocol as it

happened in 2022 (¶¶ 61-63).

        The Indictment then asserts that the Tornado Cash founders “continued to operate the

Tornado Cash service and facilitate the Lazarus Group’s money laundering and sanctions

evasion” without alleging that the founders did a single thing differently than they had done for

the prior two years. See Ind. ¶ 68. The Indictment seems to imply that the Tornado Cash

protocol’s continued existence after use by an SDN, and the founders conducting business as

usual, constitutes an IEEPA violation. See generally Ind. ¶¶ 56-68.

        Moreover, the Indictment does not allege that there was anything the founders could do

to prevent an SDN from accessing the Tornado Cash protocol or that they failed to take action

that would have been effective. 6 There is no allegation that at any point in time, the founders

directly or indirectly engaged with SDNs, communicated with SDNs, solicited SDNs to use the

Tornado Cash protocol, or did anything proactive to assist an SDN. Instead, the theory of

liability in the Indictment involves neither proactive nor direct engagement: the software




6
         Notably, the Indictment alleges that the founders did attempt to block SDNs from accessing the
user interface, but learned that effort was ineffective because the hacking group could evade the sanctions
screen on the user interface. Ind. ¶¶ 65-66. However, the standard for criminal violations is not that it
must be impossible for sophisticated sanctioned actors to evade controls, but rather that efforts to create
controls were made. Otherwise, every OFAC civil sanctions enforcement case could be a criminal case.



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developers are responsible for creating software that is later used by an SDN and merely

becoming aware of it.7

        But as discussed above, IEEPA has never been used to impose criminal liability on

software developers for an SDN’s spontaneous use of software, nor would such conduct meet

IEEPA’s “willful” mens rea requirement. This case appears to be one of first impression in

which the government is using IEEPA to target individuals who merely became aware that an

SDN was misusing a tool they created years prior and were not able to stop it. However, this

theory of IEEPA liability would be a massive and unjustified expansion of the law and have far-

reaching consequences for software developers and creators of new technology alike. 8

    B. Developers of Non-Custodial Smart Contract Protocols Do Not Have “Possession or
       Control” of Any Person’s “Property or Interests in Property”

        A software developer of a non-custodial smart contract protocol used to send and receive

transaction messages does not have “possession or control” over anyone’s “property or interests

in property” as contemplated by North Korean sanctions. In each of the relevant provisions of 31

C.F.R. § 510.201(a), the law blocks “[a]ll property and interests in property that are in the United

States, that come within the United States, or that are or come within the possession or control of

any U.S. person of” North Korea-related SDNs.



7
         There was—and is—nothing anyone can do to stop someone from using the smart contracts. If
the founders shut down the user interface and publicly abandoned the ecosystem, SDNs could still use the
Tornado Cash smart contracts. Only a few weeks ago, someone used the protocol to send funds to a wallet
associated with Blackrock. See Young, Wallet Associated With BlackRock’s Tokenized Fund Spammed
With Unsolicited ETH From Tornado Cash, Unchained (Mar. 21, 2024), https://tinyurl.com/2jxz52au.
This is the nature of immutable smart contracts: users can be excluded from the user interface but not the
protocol itself.
8
         For example, under this excessive theory by the government, every software developer who
contributed to virtual private network (VPN) technology that secures internet traffic could be criminally
(not just civilly) liable for the many sanctioned actors who have evaded geo-blocking and other sanctions
controls across web2, fintech and banking generally, using VPNs.



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       “Possession or control” is not defined in IEEPA or the executive orders relevant here.

However, a basic understanding of “possession or control” exemplifies why it does not apply to

the developers of a smart contract protocol. Black’s Law Dictionary defines “possession” as

“[t]he fact of having or holding property in one’s power; the exercise of dominion over

property,” and “[t]he right under which one may exercise control over something to the

exclusion of all others.” POSSESSION, Black’s Law Dictionary (11th ed. 2019). “Control” is

defined as “the power or authority to manage, direct, or oversee.” CONTROL, Black’s Law

Dictionary (11th ed. 2019). In the context of an immutable smart contract protocol, a developer

who initially created the protocol but has no ability to make changes to it cannot be said to have

“possession or control” over any user funds that pass through it.

       Likewise, a “property interest” is a formal term of art. It includes “rights of possession

and control, held by an owner” and a “legitimate claim of entitlement to some legal or

contractual benefit that cannot be taken away without due process.” INTEREST, Black’s Law

Dictionary (11th ed. 2019) (definition of “property interest”). The term is synonymous with

“ownership interest.” See id. (“property interest . . . also termed ... ownership interest”). When

someone has a property interest in something, he typically has the “rights of possession and

control,” id., the “right to exclude,” Cedar Point Nursery v. Hassid, 141 S. Ct. 2063, 2072

(2021), and the right of disposition, Loretto v. Teleprompter Manhattan CATV Corp., 458 U.S.

419, 435-36 (1982).

       Neither smart contracts nor their developers have “possession or control” of user funds.

Smart contracts are merely on-chain software programs that codify the preset terms of a

transaction messages between users. The nature of a non-custodial protocol is that no person has

custody of user funds other than the user herself. Essentially, a smart contract is simply a set of




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instructions for how a user’s assets are to be handled and has no ability to alter those instructions

after being deployed on the blockchain. Furthermore, the developer of an immutable smart

contract protocol who can no longer change that protocol certainly does not have “possession or

control” of user funds merely because they coded the protocol in the past. 9

        When using a non-custodial smart contract protocol like the Tornado Cash protocol, a

user never gives up their property interest rights of possession and control. While common

parlance talks about a user “sending” funds somewhere, which evokes an image of funds leaving

the user’s possession, that is not what happens in reality. An analogy is best here. In a non-

custodial smart contract protocol that involves pooling assets, it is as if a user has asked a safe

manufacturer build a safe around their assets, with the combination known only to the user. The

safe holds the assets in place until the user decides to withdraw them by putting in the

combination. While that safe is there, the safe manufacturer cannot access the assets, move them,

or even prevent the user from opening the safe to withdraw them, because the combination to the

safe is known only to the user. Throughout the encounter, the user maintains all of their property

interests in the assets and never gives up their rights of possession or control over them, and the

safe manufacturer never gains any property interests in user assets.

        The software developer, like the safe manufacturer, never has “possession or control”

over user property or property interests. Accordingly, it would be contrary to the plain meaning



9
         For an in-depth discussion of the degree of control the founders had over user funds and in
assessing whether the Tornado Cash protocol is a money services business according to FinCEN
guidance, see the Cravath Working Paper, §4. Notably, after “review of the public smart contract code”
and the Indictment, this paper concludes, “The allegations make clear that the founders controlled the UI
and the relayers at various times, but not how they, or Tornado Cash, controlled the value itself,” and
“The founders had at most necessary control . . . but not sufficient control - meaning the founders could
not have transferred value independently from the customer.” Id. §4.1, 4.2.3 (emphasis in original).
Necessary control over the user interface and/or the relayers, without sufficient control over the ability to
transfer funds, does not equate to “possession or control” over property or property interests of users.



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of IEEPA and North Korean sanctions to impose liability on a software developer of a non-

custodial smart contract protocol.

   C. The Novel Theory Of Developer Liability For Conspiracy To Violate IEEPA
      Contravenes The Rule Of Lenity And Due Process Principles

       The government alleges its unprecedented theory of IEEPA liability in the absence of a

single factual assertion that: (1) at the time the technology was created, the developers had an

SDN in mind or designed their technology to be used by an SDN; (2) the developers had the

power to exclude an SDN from this technology; or (3) the developers took any proactive steps to

engage with an SDN at any point in time. See Ind. ¶¶ 84-88. The theory results in developers of

any new technology being criminally responsible for an SDN’s later use of that technology, even

where there is no direct or active engagement with an SDN. As discussed above, our extensive

review uncovered no previous IEEPA case that rested on such a theory, and because it is also not

supported by the statutory text of IEEPA or North Korean sanctions, the government’s attempt to

use it here violates the principles of due process and the rule of lenity.

       The “familiar principle that ambiguity concerning the ambit of criminal statutes should be

resolved in favor of lenity” counsels against expanding IEEPA and North Korean sanctions to

criminalize the creation of technology without any active engagement with a sanctioned entity.

See Skilling v. United States, 561 U.S. 358, 410 (2010) (citations omitted); United States v.

Lanier, 520 U.S. 259, 266 (1997) (“[T]he canon of strict construction of criminal statutes, or rule

of lenity, ensures fair warning by so resolving ambiguity in a criminal statute as to apply it only

to conduct clearly covered.”); see also Banki, 685 F.3d at 109 (vacating convictions for violating

Iran sanctions: “[t]he rule of lenity requires ambiguous criminal laws to be interpreted in favor of

the defendants subjected to them”) (quoting United States v. Santos, 553 U.S. 507, 514 (2008)).




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The rule of lenity “vindicates the fundamental principle that no citizen should be held

accountable for a violation of a statute whose commands are uncertain.” Id.

        While the Indictment does not specify which statutory provision the government relies on

for Count III, there is no provision that clearly and unambiguously encompasses the facts here:

imposition of liability for creating software that is later used by an SDN, without any direct or

proactive engagement between the software developer and the SDN.10

        Prosecuting a software developer based on a novel interpretation of the sanctions laws

also violates the “fundamental principle” that “laws which regulate persons or entities must give

fair notice of conduct that is forbidden or required,” which is “essential to the protections

provided by the Due Process Clause of the Fifth Amendment.” See F.C.C. v. Fox Television

Stations, Inc., 567 U.S. 239 (2012) (due process prohibited agency from penalizing conduct

occurring before change in interpretation); Lanier, 520 U.S. at 266 (“[D]ue process bars courts

from applying a novel construction of a criminal statute to conduct that neither the statute nor

any prior judicial decision has fairly disclosed to be within its scope[.]”).

        Neither IEEPA nor North Korean sanctions even facially appear to cover the

government’s novel theory that a software developer may be held liable for conspiring to violate

sanctions laws by creating a general-purpose tool that is later used by an SDN without any

proactive engagement with that SDN. The government’s theory also leaves developers guessing

as to what they must do when they cannot stop sanctioned entities from using their software, or

when their efforts to do so prove ineffective. To avoid criminal liability, must the developers




10
        In Count III, the Indictment broadly refers to 50 U.S.C.A. § 1705, Executive Order 13722, and 31
C.F.R. § 510.201, but does not allege a violation of specific provision of Executive Order 13722 or
31 C.F.R. § 510.201, each of which are lengthy and have multiple provisions. See Ind. ¶¶ 84-88.



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shutter operations within their control? And what must they do for software outside of their

control? The government cannot answer these questions based on the law.

        Under the government’s theory, the following actions could result in criminal IEEPA

charges for software developers, who would be shocked to learn that they violated sanctions law:

     ● A video game developer creates an online game where users can interact live and barter
       in-game goods, and pays for hosting services. An SDN uses a VPN to get around IP
       blocking and makes an account to play the game as intended. The developer continues to
       pay for website hosting services after finding out that this occurred.
     ● An email client such as Gmail continues to provide their software and pay for server
       space after finding out that an SDN used their email client to buy and sell goods.
     ● An iPhone app developer creates a general-purpose app available in the App Store.
       Despite Apple’s efforts to comply with U.S. sanctions, an individual from a sanctioned
       country downloads the app, and the developer continues to fix bugs and put out updates
       for the app.

        Taking the government’s theory to its logical end, the law would require developers of

any tool to, at the time of creation, anticipate the myriad ways that bad actors might someday use

their tool and wall off all possible entry points. If it turns out that their efforts to exclude bad

actors were insufficient, the developers must cease operations the day that an SDN uses their

tool, lest they be found “liable for a third party’s use of the [tool] to commit a traffic violation or

to rob a bank.” Risley, 2023 WL 5609200 at *14. In the blockchain context, requiring a software

developer to do something in real time to stop an SDN from using an immutable smart contract

protocol that they created is no more realistic or legally supportable than telling a self-driving car

developer to make sure that a getaway car stops working in transit from the bank heist. See id.

(directing liability in civil context: “In those circumstances, one would not sue the car company

for facilitating the wrongdoing; they would sue the individual who committed the wrong.”). 11


11
         By comparison and as discussed in Coin Center’s brief, the SWIFT system, central to funds
transfers in the traditional financial system, has far more control over participants than developers of
immutable smart contract protocols over users. Yet after a February 2016 hack by the DPRK “through
unauthorized transactions” on SWIFT, no SWIFT developers or operators were charged and instead, the


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       But most importantly, these requirements are not actually found in the law itself. For that

reason, the Court should reject the government’s newfound theory of IEEPA liability for

software developers as contrary to the rule of lenity and fundamental principles of due process.

 II.   THE GOVERNMENT’S MONEY LAUNDERING THEORY MISUNDERSTANDS
       HOW IMMUTABLE SMART CONTRACT PROTOCOLS WORK

       Similar to its theory of IEEPA liability, the government’s money laundering theory also

seeks to hold software developers liable for conduct outside of their control. Count I is premised

on the government’s belief that software developers “operat[e]” the smart contracts that they

publish and “conduct” transactions using those smart contracts. Ind. ¶¶ 1, 78. That belief

misunderstands the basic relationship between smart contract protocols and their developers.

       Smart contracts “are self-executing, self-enforcing programs that write the terms of the

agreement between [users] directly into the program’s code[.]” Risley, 2023 WL 5609200 at *3.

When a person uses a smart contract protocol, they ordinarily do not engage with the protocol’s

developers in any way— “that is, when a given event occurs, the [transaction] auto-executes,

without the need for third-party intervention from banks, lawyers, accountants, or the like.” Id.

The developers’ work is done when they finish coding and launch the smart contract protocol,

and then the protocol continues to operate on its own for as long as the underlying blockchain

continues to function. That fact holds true regardless of the type of transaction that the protocol

enables, whether a decentralized exchange as in Risley or privacy preservation as in this case.

       To prove a conspiracy to commit money laundering, the government must establish that

the defendant: (1) agreed to conduct, or to attempt to conduct, a financial transaction; (2) knew




hackers responsible for the heist were charged. See DOJ, North Korean Regime-Backed Programmer
Charged With Conspiracy to Conduct Multiple Cyber Attacks and Intrusions (Sep. 6, 2018),
https://tinyurl.com/5n8m6ptv.



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“that the property involved [in the transaction] represents the proceeds of unlawful activity”; and

(3) “proof of intent to conceal” the proceeds. See 18 U.S.C.A. § 1956(a)(1)(B)(1), (h); United

States v. Odiase, 788 F. App’x 760, 762 (2d Cir. 2019); United States v. Huezo, 546 F.3d 174,

179-80 (2d Cir. 2008). These elements are absent in the case of software developers who create

and deploy immutable smart contract protocols.

       In the context of a traditional software company that offers financial transactions as a

proprietary service, such as a centralized trading platform or payment processor, it may be

reasonable to treat the company as “conducting” all of the transactions that it facilitates for its

customers. That type of company typically has a direct legal relationship with its customers; has

total control over who can access the service, how, when, and at what cost; has knowledge of all

prospective transactions before they take place; and plays an essential role in accepting and

executing its customers’ transaction requests. Without the company’s ongoing engagement and

understanding, its customers’ transactions could not and would not take place.

       The technology at issue here is fundamentally different. The developers of an immutable

smart contract protocol typically have no relationship with the protocol’s users; have no control

over the protocol’s operation; have no knowledge of prospective transactions until after they take

place; and play no role in executing transactions. Not only is there no “need for third-party

intervention” in the case of an immutable smart contract protocol, Risley, 2023 WL 5609200 at

*3, the protocol is intervention-proof by its very nature. Once a protocol is immutable, the

developers have the same relationship with the protocol as everyone else in the world—the only

way for them to “conduct” transactions related to the protocol is to become users themselves. In

this way, smart contract developers are unlike financial institutions offering a proprietary service.




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Instead, they are akin to construction workers building public works projects that anyone can use

without their involvement after the build is complete.

       Here, the Indictment acknowledges that the Tornado Cash protocol was immutable as of

May 2020. See Ind. ¶ 26. The relevant time period for Count I did not begin until months later:

“in or about September 2020 up to and including on or about August 8, 2022[.]” Ind. ¶ 77.

During that period, the Indictment does not allege—and provides no basis to conclude—that the

Tornado Cash founders agreed to conduct, or to attempt to conduct, transactions involving the

protocol. Nor does the Indictment allege that they became users of the protocol themselves.

       The Indictment only appears to allege the founders conducted two categories of

“transactions” during the relevant time period that fit the definition in 18 U.S.C.A. § 1956(c)(4).

First, Mr. Storm allegedly made regular payments to a service provider related to the Tornado

Cash UI in 2021 and 2022. See Ind. ¶ 23. But the Indictment does not allege that those payments

“in fact involve[d] the proceeds of specified unlawful activity,” 18 U.S.C. § 1956(a), or that Mr.

Storm made those payments “knowing” that they were the proceeds of unlawful activity and with

intent to conceal such proceeds. See Huezo, 546 F.3d at 179 (holding that “a conviction for

transaction money laundering . . . requires proof that the purpose or intended aim of the

transaction was to conceal or disguise a specified attribute of the funds”).

       Second, the founders allegedly conducted various transactions related to the TORN

token, including the initial distribution of the token in December 2020 and sales of tokens using

a Binance account in 2022. See Ind. ¶¶ 27, 69, 73, 75. But again, the Indictment does not allege

that any of these transactions involved the proceeds of specified unlawful activity or that the

founders knew that they did, as required by 18 U.S.C.A. § 1956(a)(1). And the Indictment does

not allege that the founders’ TORN tokens represented the proceeds of wire fraud or a violation




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of the Computer Fraud and Abuse Act. See Ind. ¶ 78; Odiase, 788 F. App’x at 762 (requiring the

government to show “knowledge that the property involved represents the proceeds of unlawful

activity”). The allegation that the founders attempted to conceal their TORN sales, Ind. ¶ 73,

does not save Count I—it is not a crime to conceal personal transactions involving lawful funds.

        Instead of alleging specific transactions that satisfy Count I, the Indictment relies on

conclusory and unsupported allegations about the Tornado Cash founders’ relationship with the

software that they created. See generally Ind. ¶¶ 45-50. For example, the Indictment states that

the founders “were facilitating and participating in [money laundering transactions] through their

operation of the Tornado Cash service.” Ind. ¶ 50. But these sweeping statements cannot

overcome the technical reality of an immutable smart contract protocol to substantiate an

allegation that the Tornado Cash founders entered into a conspiracy to commit money

laundering. None are alleged to have “conducted” user transactions, let alone to have done so

with the required mens rea for a money laundering conspiracy. Since the Indictment does not

allege a single transaction that satisfies 18 U.S.C.A. § 1956(a), Count I fails.

                                          CONCLUSION

       For the foregoing reasons, DEF urges the Court to reject the government’s novel and

inconsistent theories of criminal liability for software developers set forth in the Indictment and

to consider the impact that its decision will have on all software developers in all industries.



April 5, 2024                                   Respectfully submitted,

                                                          DEFI EDUCATION FUND

                                                          Amanda Tuminelli
                                                          tuminelli@defieducationfund.org

                                                          Jacob Chervinsky
                                                          jake@defieducationfund.org


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